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THE ALTMAN LAW GROUP

_:10-cv-00932-.]LS-FFI\/| Document 40 Filed 03/14/11 Page 1 of 81 Page |D #:1345

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Attorneys for Plaintiff Kahn Creative
Partners, Inc.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

KAHN CREATIVE PARTNERS,
INC., an Illinois corporation,

Plaintiff,
vs.

NTH DEGREE, INC. aka BEYOND
THE NTH DEGREE, INC., a
Delaware corporation; and DOES 1
through 10, inclusive,

Defendants.

 

Case_ NO. CV 10-932 JST (FFMX)

ll_ASSigned to the Hon. Josephine Staton
ucker]

COMPENDIUM OF EVIDENCE IN
SUPPORT ()F PLA]NTIFF KAHN
CREATIVE PARTNERS, INC.’S
OPPOSITION TO MOTION FOR
SUMMARY .IUDGMENT

(F.R.C.P. Rules 56, 58, Local Rule 56~1)

E)Filed concurrently with Memorandum Of
aims and Authorities, Statement of
Genuz`ne Dis utes and Additional Material
Facts, and roposed Order]

Date: March 28, 2011
Time: 10:00 a.m.
Courtroom: 10A

Complaint Filed: February 8, 2010
Trial Date: May 10, 2011

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PLAINTIFF KCP’S COMPENDIUM OF EV]DENCE [N OPPOSI'I’ION 'I`O MSJ

 

Case 2

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10-cv-00932-.]LS-FFI\/| Document 40 Filed 03/14/11 Page 2 of 81 Page |D #:1346

TO THE HON()RABLE COURT, DEFENDANT AND ITS ATTORNEYS
OF RECORD:

Plaintiff Kahn Creative Partners, Inc. (“KCP”) hereby Submits the following
evidence in support of its opposition to Defendant Nth Degree, lnc.’s motion for
summary judgment
I. Declaration of Sharon Weber
II. Declaration of Michael Trovalli
III. Declaration of David J. Masutani

Excerpts from the Deposition of Robert Lowe, Vol. 1 & 2 ......... Tab 101

Ernail dated 7/ 1 8/ 08 from Webe'r to Lowe (Bates No. 10001) ....... Tab 102

Email dated 5/18/09 from LoWe to Weber and Trovalli

(Bates No. D3321-3322) ............................... Tab 103

Email dated 8/7/08 from LoWe to KCP principals

(Bates No. 10025) .................................... Tab 104
Email dated 12/10/08 from Weber to LoWe, Daniele and Blair

(Bates No. 10078-80) ................................. Tab 105
Email dated 2/4/09 from LoWe to Weber (Bates No. 12962) ........ Tab 106
Ernail dated 1/12/09 from Lowe to Weber

(Bates No. 13093-13094) .............................. Tab 107

Excerpts t`romthe Deposition of Jeannie Blair ................... Tab 108

Email dated 4/1/09 from Belikove to Weber (Bates No. 1 1166) ..... Tab 109

Email dated 5/13/09 from Lapedis to Lowe and Daniele

(Bates No. D3319-3320) ............................... Tab 110

Ernail dated 5/18/09 from Lowe to Weber and Trovalli

(Bates No. D0332l-3322) .............................. Tab 111

Exeerpts from the Deposition of Karen Daniele .................. Tab 112

Email from LoWe to KCP personnel (Bates No. D3 435) ........... Tab 113

Email from LoWe to KCP personnel (Bates No. D3609) ........... Tab 114

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PLAINTIFF KCP’S COMPENDIUM ()F EVIDENCE IN OPPOSITION TO MSJ

Case 2"10-CV-00932-.]LS-FFI\/| Document 40 Filed 03/14/11 Page 3 of 81 Page |D #:1347

p._l

Res eetfully submitted,
DATED: March 14, 2011 T ALTMAN LAW GROUP

BY: M/\

DAVID J. MASUTANI
Attorneys for Plaintiff,
KAHN CREATIVE PARTNERS, INC.

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PLAINTIFF KCP’S COMPENDIUM OF EVlDENCE lN OPPOSITlON TO MSJ

 

 

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 4 of 81 Page |D #:1348

DECLARATION OF SHARON WEBER

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 5 of 81 Page |D #:1349

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Partners, Ine.
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
KAHN CREATIVE PARTNERS, Case No. CV 10-932 JST (FFMX)
INC., an Illinois corporation, _ _
_ v [rAsslgned to the Hon. Josephme Staton
Plaintlff, ucker]
vs.

. DECLARATION OF SHARON
NTH DEGREE INC. aka BEYOND WEBER IN SUPPORT OF
THE NTH DEGREE, INC., a OPPOSITION TO MOTION FOR
Delaware corporation; and DOES 1 SUMMARY JUDGMENT

through 10, incluslve,

Defendants.

 

(F.R.C.P. Rules 56, 58, Local Rule 56-1)

L)Filed concurrently with Memorandum of
Oints and Authorities, Statement of
Genuine Disputes and Additional Material
Facts, Com endium ovaidence, and
Proposed rder]

Date: March 28, 2011
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DECLARATION OF SHARON WEBER IN SUPPORT OF OPPOSITION TO MSJ

 

Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 6 of 81 Page |D #:1350

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I, SHARON WEBER, declare under penalty of perjury as follows:

1. I am a principal of Plaintiff Kahn Creative Partners, Inc. (“KCP”). l
have personal knowledge of the facts stated herein, unless stated on information and
belief, and could and would testify to them if called to do so.

2. In or around June of 2008, Robert Lowe of Nth Degree, lnc. (“Nth”)
contacted me about an opportunity to work with Nth regarding in connection with
the RSA Conferences.

3. At some point early on in these conversations, Mr. Lowe mentioned that
Jack Morton World Wide (“JMWW”) and George P. Johnson (“GPJ”) Would likely
be competing the the RFP process. JMWW and GPJ, are two international
marketing and event management industry giants that have the resources to provide
marketing, creative, strategy, brand extension, and event architecture, all within their
organizations JMWW and GPJ offered RSAC the option of a “one stop shop” in
which all aspects of the RSA Conferences could be handled within a single
organization At that time, Nth did not have the skill set to be a “one stop shop.”

4. Discussions of the relationship between Nth and KCP being a
partnership in connection with the RSA Conferences began in early conversations
and emails between myself and Mr. Lowe as early as that initial by Mr. Lowe, and
continuing thereafer. For example, in an emailI sent to Mr. Lowe on July 18, 2008,
I mentioned that Williarn Kahn, another principal of KCP, and I were both interested
in talking further with Mr. Lowe about a strategic partnership around the RSA
Conferences.

5. On August 6, 2008, a meeting took place between Robert Lowe and
Karen Daniele from Nth, and myself, William Kahn, Dean Hills and Michael
Trovalli of KCP to discuss the upcoming opportunity regarding the RSA
Conferences. During that meeting, there was a point in the discussion where the Mr.
Trovalli asked Mr. Lowe about how Nth intended to engage KCP around the

elements of the Conferences and how KCP would be engaged to provide actual

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DECLARATION OF SHARON WEBER IN SUPPORT OF OPPOSITI()N TO MSJ

 

Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 7 of 81 Page |D #:1351

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production services and support Mr. Trovalli specifically referenced the General
Sessions and Exhibit Floor management, and alluded to the other elements of the
conference as well. Mr. Kahn also stated that Nth was prepared to involve KCP
deeply in all elements of the conference with the exception of installation &
Dismantling (“I&D”) services, that it would not be worth the time and effort
investment for KCP to be involved in the preparation of the RFP. ln response, Mr.
Lowe was very clear that there were many streams of work and that each workstream
had its own revenue and integrated profit margin attached to it. He indicated that,g
gartners, Nth Degree and KCP would share equally in those revenue streams with
the exception of I&D, which Nth Degree would handle through their other corporate
division Karen Daniele was present during that entire conversation and did not
object or refute Mr. Lowe’s statements at that time or at any time subsequent to that
meeting

6. Mr. LoWe stated to KCP on several occasions, including at that Las
Vegas meeting, that he believed KCP brought components, skills and a skill set to
the partnership that Nth lacked on its own. He also mentioned at the Las Vegas
meeting that he felt KCP’s involvement in joining Nth in responding to the RFP was
Crucial to Nth Winning the RFP, and that he did not think Nth could retain the RSA
Conferences without KCP’s help.

7. Mr. Lowe also sold KCP on the idea that a winning proposal would
result not only in work for their combined partnership for the 2010 RSA
Conferences, but subsequent conferences as well based upon the fact that this was
the first time RSAC put the U.S. RSA Conference for bid since 2004. That
expectation is consistent with my experience in the event production industry, as
companies typically do not go through the RFP process for several years after the
last one due to the time and expense of the RFP process and possibly breaking in a

new vendor.

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DECLARATION OF SHARON WEBER IN SUPPORT OF` OPPOSITION TO MS.I

 

Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 8 of 81 Page |D #:1352

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8. Nth Uncontroverted Fact No. 26 refers to an email that l sent to other
KCP principals describing a December 6, 2008, meeting l attended in San Mateo
with personnel from RSAC and from Nth. In the email, I make reference to subjects
of the contemplated RFP response that Nth will c‘own” and that KCP will “own.”
That is not a reference to what actual work KCP and Nth would “own” if Nth and
KCP won the RFP process That Strictly referred to “ownership” of subject matter
for the response to the RFP.

9. Despite the use of the Words "partners", "partnership", "strategic
partnersh'ip" and "strategic alliance" in emails from KCP to Nth, and vice versa, no
one from Nth ever told me or anyone else at KCP that l am aware of that Nth did not
intend for it and KCP to actually be partners Also, no one at Nth ever told me or
anyone else at KCP that l am aware of that the only work that KCP would get would
be work awarded for the RFI.

10. With respect to their response to the RFP, KCP understood that RSAC
could, at its option, incorporate all or part of the bidders’ RFP proposal in any
resulting contract for work. l

11. KCP also understood that KCP’s and Nth’s response to the RFP and the
subsequently issued RFI could lose the bidding process entirely, in which case
neither Nth nor KCP would be awarded any RFP or RFI work, and their partnership
would have terminated

12. KCP did not understand, and no where in the RFP or RFI is it expressly
written, that in the event a partnership or joint venture bid for work, that RSAC
could unilaterally elect to contract with only one of the partners or joint venturers, at
the exclusion of other partners or joint venturers, without the permission of the
excluded parties

13. On February 9, 2009, personnel from KCP and from Nth met at my
home in Marina Del Rey for a brainstorming session to strategize as to how to

respond to the RFP. During the meeting, it was agreed that Nth would be primarily

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DECLARATION OF SHARON WEBER IN SUPPORT OF OPPOSITION TO MSJ

 

Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 9 of 81 Page |D #:1353

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responsible for Section l of the RFP, the Event Specifrcations section, since it was
logistical in nature, and Nth could readily respond to those questions because it had
already been doing that work, with the exception of marketing, since 2004. lt was
agreed that KCP would be primarily responsible for preparing the response to the
marketing Subsection of Section l.

14. On April 1, 2009, l received from Paula Belikove the RFI for agencies
interested in the marketing work for the 2010 US RSA Conference. The RFI carved
marketing out of the RFP. Now, parties that wanted to bid solely on event
management work only would respond to the RFP, parties that wanted to bid solely
on marketing work would respond to the RFI, and parties such as JMWW, GPJ, and
the partnership of KCP and Nth that were bidding for all the work would respond to
the RFP and the RFI. Besides the work being offered, the RFI was significantly
different than the RFP in that it was only for marketing work for the 2010 U.S. RSA
Conference, it did not ask the marketing bidders any of the Business Acumen
questions contained in the RFP, and it did not seek information about the marketing
bidders’ European experience and strategies

15. The issuance of the RFI had little effect upon the division of work
between Nth and KCP in preparing the response to the RFP and now RFI. KCP
continued to do most of the work regarding the Business Acumen section of the
RFP, a small amount of work regarding the Event Specifications section of the RFP,
and now it would do practically all of the work in preparing the response to the RFI.

16. If it was Nth’s intent to secure the RFP work all to itself, excluding
KCP entirely, then the RFP called for Nth to have prepared the entire responses to
the Event Specifications section and the Business Acumen section on its own. KCP’s
European experience, strategies, creative and long term planning would only be
relevant if KCP was going to be a part of the team that did the RFP work, which Nth
represented it would be.

17. It was never KCP's intention to ghost write portions of the RFP proposal

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DECLARATION OF SHARON WEBER IN SUPPORT OF OPPOSITION TO MSJ

Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 10 of 81 Page |D #:1354

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for Nth, i.e., to allow Nth to take credit for KCP's experience, and creative and
strategic ideas without any expectation of sharing in the RFP work and profits The
RFI did not ask for RFI bidders to provide information requested in the RFP
Business Acumen section, and it did not seek any information regarding RFI bidders'
experience or strategic ideas regarding Europe. The only reason why KCP
contributed work towards the Business Acumen section of the RFP proposal, as well
as smaller portions of the Event Specifications section of the RFP proposal, and the
face-to-face presentation was because it understood that KCP and Nth were bidding
for the RFP and RFI work together, and that KCP and Nth would share in any work
and profits that resulted from winning the RFP and/or RFI. If that was not the case,
if Nth had made it clear after the RFI for the marketing work was issued on April 1,
2009, that Nth would be bidding for the RFP work solely for itself, and that KCP
would be bidding for the RFI work solely for itself, KCP would not have allowed
Nth to use its work in response to the RFP, and KCP would not have participated in
the 5/28/09 face-to-face presentation because to do so would have been dishonest
toward RSAC.

18. I was the person most involved in putting together the Business_Acumen
section By my estimate, KCP personnel and its freelancers contributed
approximately 80% of the work for that section

19. Although KCP authored the response to the RFI, Mr. Lowe was a key
advisor in its prepartion. l\/Ir. Lowe reviewed and approved of KCP’s initial
approach. Mr. Lowe reviewed drafts of KCP’s RFI response and advised KCP to
change certain words and phrases based on his assessment of what, in his experience,
Ms. Lapedis and Ms. Belikove of RSAC would like and wouldn't like.

20. In the end, both KCP and Nth contributed significantly to the response
to the RFP and the RFI. In my opinion, the total response was truly a joint effort

between KCP and Nth.

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DECLARATION OF SHARON WEBER IN SUPPORT OF OPPOSITION TO MSJ

Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 11 of 81 Page |D #:1355

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21. Exhibit 110 is an email dated May 13, 2009, thatI sent to Cathy
Robertson. I had forwarded to Ms. Robertson an email that Sandra Toms-Lapedis of
RSAC had sent to Robert Lowe and Karen Daniele inviting Nth to make a face-to-
face presentation before RSAC in support of its bid for the RFP work. ln reviewing
the email from Ms. Lapedis, l understood that the presentation would be a showcase
for Nth’s and KCP’s partnership’s strategic thinking, and that RSAC required that
the "day-to-day team" members that would work on the RFP to appear and present
Subsequent to that email, Mr. Lowe and l agreed that Dean Hills, Clare Sebenius,
and I should prepare the outline for, and present at, the meeting before RSAC. The
decision to have me, Mr. Hills and Ms. Sebenius present at the meeting reaffirmed
my understanding that we would be members of the “day»to-day team” that did work
that our partnership won as a result of the RFP process

22. Exhibit l 11is a true and correct copy of an email dated May 18, 2009,
that was sent by Robert Lowe to myself and Mike Trovalli. I received and reviewed
a version of this email at around the time it was sent. The version I received did not
indicate that blind copies were sent to Ms. Daniele and Ms. Blair,, but the content of
the message from Mr. Lowe was identical. The portion of the email in paragraph 2,
in which Mr. Lowe states Nth’s members are not comfortable delivering the
“strategic, higher level message,” and that KCP was brought into the team to deliver
those types of messages is consistent with my understanding of why Nth invited
KCP into the partnership in the first place. The competition in the RFP bidding
process, Jacl< Morton World Wide and George P. Johnson, are industry giants who
are experts in delivering the “strategic, higher level message.” Nth partnered with
KCP so that KCP could take that role for Nth in order for Nth to be able to submit an
RFP proposal that was competitive with JMWW and GPJ. This email from Mr.
Lowe served as further affirmation that KCP and Nth were partners with respect to

preparing the RFP proposal and would share any work and profits resulting from an

RFP win

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DECLARATION OF SHARON WEBER IN SUPPORT OF OPPOSITION TO MSJ

 

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 12 018 P |Dx#.d§%%,,

23. Me, Dean Hills, and Clare Sebenius were the persons most involved in

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creating and developing the presentation to be made before RSAC on May 28, 2009.
l estimate that KCP team members (myself,` Dean Hills and Clare Sebenius)
contributed approximately 90% of the work in preparing the presentation., and Nth
team members contributed approximately the remaining 10% ofthe work. KCP team
members developed the outline, the creative direction_. 90% ofthe content, developed
the powerpoint presentation and coordinated with Cathy Robertson in London to

participate via conference call with RSAC’s` London~based client Nth Degree‘ s role

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was to review and provide mput to the presentation only

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24. The face-to-face presentation before RSAC took place on May 28,
2009, at RSAC’s offices in San Mateo, California. The "‘day-to-day team" members
that attended were myselt`, Dean Hills and Clare Sebenius from KCP, Cathy

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Robertson a KCP freelancer was on conference call from London and Robert

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Lowe Karen Daniele Ieannie Blair, and Bruce Porter from Nth. The meeting lasted

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approximately two and a half hours Of that time, Clare Sebenius and Dean Hills’

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presentations lasted for approximater two hours
l declare under'penalty of perjury that the foregoing is true and correct
Executed this 14th day of March 201 1, at Indianapolis, Indiana.

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Sharon Weber, Declarant

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DECLARATION OF SHARON WEBER IN SUPPORT OF OPPOSITION TO MSJ

 

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Case 2:1O-cV-00932-.]LS-FFI\/| Document 40 Filed 03/14/11 Page 13 of 81 Page |D #:1357

DECLARATION OF MICHAEL TROVALLI

Case 2:1O-cV-00932-.]LS-FFI\/| Document 40 Filed 03/14/11 Page 14 of 81 Page |D #:1358

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 15 of 81 Page |D #:1359

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ll`,__ MICHABL TH@.VALLL declare nndet" penalty of perjury as 'foilows-:

'l_ 1 am a principal ar entaiin icahn t:reasve 13a-mae ac ( KCP”) l have personai
knewie;dge of the facts stated herein unless stated en i-nfonnation and uclief_,_ and could and
would testify to them if called to dc so.

12. in or around Api;‘il off 200.8',_1 had severed discussions With. Robert Lowe
regarding tile preparation of budge-ts for the ptoyesa-_l.,»\ during attach Mt. Lowe advised me
that KCP Would lee responsible for preparing the madqu budget and that Ntu would be
respeasiuie toy all outer aspects ofthe lar-tagerll Tlns did net surprise me since l tate

assumed that Nth alre ady tied budgets prepared tot the RFP work since they had already

been doing that for several years.. Hnwever,..tins; discussion rented solely to the beeper in
tile proposal it W_as_ not a discussiaa alant_tt' the diuiSj-icn of utterly and preiit$ When die R_FP
assist RFI were area We could not diyids any ct the acre uaqu safe anew what work
had been own

3. Eyen if RSAC G'uly- awarded the RFP Work, as it d;irt,. KCP was certainly
capable of performing any of die work in the livth Speeitications parties of the RFP,
other titan l&:D-.

l declare under penaity cf perjury that the foregoing is true and correct

Eaecuted this le"lday et March Z§ll at Dalla? Tex:: 7

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Case 2:1O-CV-00932-.]LS-FFI\/| Document 40 Filed 03/14/11 Page 16 of 81 Page |D #:1360

DECLARATION OF DAVID J. MASUTANI

Case 2

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THE ALTMAN LAW GROUP

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BRYAN C. ALTMAN (State Ba.r NO. 122976§)

DAVID J. MASUTANI (State Bar NO. 17230

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Telephone: (323 65.3-5581
Fax: (323) 653- 542

Attorneys for Plaintifr` Kahn Creative

Partners, Inc.

UNITE]) STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

KAHN CREATIVE PAR`TNERS,
INC., an Illinois corporation,

Pla,intiff,
vs.

NTH DEGREE, INC. aka BEYOND
THE NTH DEGREE, INC., a
Delaware corporatlon; and DOES 1
through 10, inclusive,

Defendants.

 

Case No. CV ]0-932 JST (FFMX)

[rASSigned to the Hon. JoSephine Staton
ucker]

DECLARATION OF DAVI]) J.
MASUTANI IN SUPPORT OF
OPP_OSITION TO MOTION FOR
SUMMARY JUDGMENT

(F.R.C.P. Rules 56, 58, Local Rule 56-1)

giled concurrently with Memorandum cf
oil/lrs and Authorities, Statement of
Genuine Disputes and Additional Material
Facts, Com endium ovaidence, and
Proposed rder]

Date: March 28, 2011
Time: 10:00 a.m.
Courtroom: 10A

Co_mplaint Filed: Februa.ly 8, 2010
Trla] Date: May 10, 201 1

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DECLARATION OF DAVID J. MASUTANI IN SUPPORT OF OPPOSI'I`ION TO MSJ

 

Case 2

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10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 18 of 81 Page |D #:1362

l, DAVID J. MASUTANI, declare under penalty of perjury as follows:

l. l am an attorney at law licensed to practice before all courts of the State
of California and am an associate at the Altman LaW Group, attorneys of record for
Plaintiff Kahn Creative Partncrs, Inc.

2. l have personal knowledge of the facts Statcd hcrcin, unless Statcd on
information and belief, and could and Would testify to them if called to do So.

3. Attached hereto as Exhibit 101 are true and correct copies of excerpts
from the relevant portions of the transcripts of the Depositions of Robert Lowe,
Vols. 1 & 2, taken on January 6, 2011, and February 22, 2011, respectively

4. Attached hereto as Exhibit 102 is a true and correct copy of an email
dated 7/18/08 from chcr to Lowe (Bates No. 10001).

5. Attached hereto as Exhibit 102 is a true and correct copy of an entail
dated 5/18/09 from Lowe to Weber and Trovalli (Bates No. D332l~3322).

6. Attached hereto as Exhibit 103 is a true and correct copy of an cmail
dated 5/18/09 from Lowe to Weber and Trovalli (Bates No. D3321-3322).

7. Attached hereto as Exhibit 104 is a true and correct copy of an entail
dated 8/7/08 from Lowe to KCP principals (Bates No. 10025).

8. Attachcd hereto as Exhibit 105 is a true and correct copy of an entail
dated 12/ 10/ 08 from Webcr to Lch, Daniele and Blair (Batcs No. 10078-80).

9. Attachcd hereto as Exhibit 106 is a- true and correct copy of an cmail
dated 2/4/09 from Lowe to cher (Batcs No. 12962).

10. Attachcd hereto nas Exhibit 107 is a true and correct copy of an cmail
dated 1/12/09 from Lch to chcr (Bates No. 13093113094).

ll. Attached hereto as Exhibit 108 are true and correct copies of excerpts
from the relevant portions of the transcript of the Dcposition of Jcannic Blair taken
on January l 1, 2011.

12. Attached hereto as Exhibit 109 is a true and correct copy of an email
dated 4/1/09 from Belikove to cher (Bates No. 11166).

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DECLARATION OF DAVlD J. MASUTANI IN SUPPORT OF OPPOSITION TO MSJ

 

 

Case 2

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10-cv-00932-.]LS-FFI\/| Document 40 Filed 03/14/11 Page 19 of 81 Page |D #:1363

13. Attached hereto as Exhibit 110 is a true and correct copy of an email
dated 5/13/09 from Lapedis to Lowe and Daniele (Bates No. D3319-3320).

14. Attached hereto as Exhibit 111 is a true and correct copy of an email
dated 5/18/09 from Lowe to Weber and Trovalli (Bates No. D03321-3322).

15. Attached hereto as Exhibit 112 are true and correct copies of excerpts
from the relevant portions of the transcript of the Deposition of Karen Daniele taken
on February 25, 2011.

16. Attached hereto as Exhibit 113 is a true and correct copy of an email
from Lowe to KCP personnel (Bates No. D3435).

17. Attached hereto as Exhibit 114 is a true and correct copy of an email
from Lowe to KCP personnel (Bates No. D3609).

l declare under penalty of perjury that the foregoing is true and correct

Executed this 14th day of March 201 1, at Beverly Hills, California.

J/lw@\

vid j. Masutani, Declarant

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DECLARATION OF DAVID J. MASUTANI IN SUPPORT OF OPPOSITION TO MSJ

 

 

Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 20 of 81 Page |D #:1364

EXHIBIT l 01

Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 21 of 81 Page |D #:1365

 

 
   
   
   
    
   
   
  
  
  
  
 
   
   

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CENTRAL DISTRICT OF CALIFORNIA

KAHN CREATIVE PARTNERS, INC., an
Illinois corporation,

Plaintiff,

Cause NO.
CV10-00932JST(FFMX)

VS.

NTH DEGREE, INC., aka BEYOND THE

NTH DEGREE, INC., a Delaware Volume I
corporation; and DOES 10 to 10,
inclusive,

Defendants.

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VIDEOTAPED DEPOSITION OF ROBERT A. LOWE
Beverly Hills, California

Thursday, January 6, 2011

Reported by: Judy Samson
CSR NO. 6916
NDS Job NO-: 140594

 

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 22 of 81 Page |D #:1366

 

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Page 43
Q You know the word "partnership"?
A I know what it means to me.
Q Okay. Did you ever use that word --
A Can you back up a little?

MS. NOVICK: Really, please.

BY MR. ALTMAN:

  

Q I'm just asking you: Did you ever use that

word in connection with communications with Kahn

Creative Partners?

 

Did you ever use that word and say,

 

“Nth Degree is not interested in any partnership

 

with you, Kahn Creative Partners," after you
received this e-mail from Ms. Weber?
A Nth Degree, no, I didn't.

Q DO you know if anyone else at Nth Degree

 

ever used or indicated to Kahn Creative Partners

 

that it was not interested in a partnership -- using

the word "partnership" -- with Kahn Creative

 

 

Partners?

 

A Not that I know of.

h

Q Okay. Did you indicate at any time to
anyone at Kahn Creative Partners that Nth Degree was
uninterested in a strategic alliance with Kahn
Creative Partners in connection with the RSA and

beyond?

 

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 23 of 81 Page |D #:1367

 

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Page 67

We are off the record.
(Pause in proceedings from
11:22 a.m. to 11:42 a.m.)
THE VIDEOGRAPHER: Time is 11:42 a.m.
We are on the record.
BY MR. ALTMAN:

Q Mr. Lowe, at some point in time you learned
J_

 

that the -- that the RSA conference was going to be

 

 

up for bid; right?

 

   
  
  
  
  
   
  
    
  

A Correct.
_m~n-n___“¢_,__._'_-__~
Q Okay. I'm specifically referring to the

 

2010 RSA Conference.

 

Okay. _When did you learn that?

 

(Document reviewed by the witness.)

 

THE WITNESS: During the summer of '08, at

 

some point Sandra at RSA informed me that she

 

thought that it was going to have to go out to bid

for the '10 conference.

 

 

 
    
  
     
  
  
    

BY MR. ALTMAN:

Q What did she say to you?

A Basically that we've been doing it now ~-
that would have been '4, '5, '6, '7, '8 ~~ five
years or -~ so it was time to put it out for bid.

She did mention that during that last year,

EMC Corporation had purchased RSA and said that --

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 24 of 81 Page |D #:1368

 

 

 

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12:11:15 1 (A lunch recess was held
01¢24=34 2 from 12:11 p.m. to 1:25 p.m.)
01124:34 3 THE VIDEOGRAPHER: This is the beginning of
01=24=49 4 Tape 2 of the continuing testimony of Robert Lowe,
01:24:53 5 volume 1.
01124=54 6 We are on the record at 1:25 p.m.
01124f53 7 BY MR. ALTMAN:
01:24=58 8 Q Mr. Lowe, did you consider the work that
01=25=05 9 you, Nth Degree, and Kahn Creative Partners, Inc.,
01=25=11 10 did in connection with the RSA conference as a

 

01:25=1¢l 11 partnership?
all-___________

 

 

 

 

 

 

 

01=2511$ 12 A The RSA '10 conference RPF?
01:25:19 13 Q Okay.

\ -----___..__..
01=25=20 14 A No, is that what you're asking?
01:25:21 15 v Q Yeah, the R- ~- the response to the RFP.
01125=25 16 MS. NOVICK: Objection; vague and ambiguous
01=25='26 17 as to the word "partnership."
01=25=28 18 h You can testify as to what you understood.
01=25=39 19 Also calls for a legal conclusion.
01=25=44 20 THE WITNESS: Yeah. 1 mean, my issue is
91=25=47 21 understanding the word "partnership" in the way that
01525=52 22 you're using it back to what we talked about
01;25:59 23 earlier.
01;25:59 24 But, yeah, I would use the word
01126=01 25 "partnersl'iip"; I'd use the word "alliance"; l'd have

 

 

 

 

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 25 of 81 Page |D #:1369

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fused the word "one-stop shop." I'd use those
interchangeably.
BY MR. ALTMAN:
Q "One-stop shop" meaning the partnership of

 

Kahn Creative Partners and Nth Degree?

 

A And any other organizations that --

 

MS. NOVICK: Ohjection; assumes facts not
in evidence.

You can testify.
BY MR. ALTMAN:

Q So you -~ you viewed the partnership of

 

Kahn Creative Partners, Inc., and Nth Degree as a

one-stop shop?
h___~_ns_:_i\iovrci<: same objection.
BY MR. ALTMAN:
Q You may answer.

MS. NOVICK: Yeah,r you can.

THE WITNESS: As a way to provide the

 

client a one-stop shop if they ~- if they so chose,
yeah.

av~____
BY MR. ALTMAN:

Q Okay. Well, let me ask you: Did the RPF,

 

das far as you understood, did it allow for the

 

preparation of a response and submission of a

 

response to the RFP through a partnership structure?

¢.

 

 

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 26 of 81 Page |D #:1370

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MS. NOVICK: Ohjection; calls for legal
conclusion.
You can answer.

THE WITNESS: And the way that 1 -- when

 

you say "partnership structure" --

 

sr MR. ALTMAN:

Q A partnership.

 

Could a partnership, as far as you

.._

understood, provide the response to the RFP?

 

 

MS. NOVICK: I'm going to object as vague
and ambiguous because even under legal definitions
they could be different -- they could be a
partnership. There could be Kahn Creative Partners.
It's a partnership that's responding to the RFP. So
it's not clear.

BY MR. ALTMAN:
Q You may answer.

`A, Yeah, they -- they would allow you to.

 

 

Based upon the way we saw the RFP, she was

 

 

 

\allowing it "” you know, us to *~ "she“ being RSA
obviously -- was allowing us to provide a solution
in any way that we felt “- in a way that we felt was

 

best to position ourselves to win any and all of

 

lthat project, yeah.

Q So -* well, let me ask you this: In all of

 

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 27 of 81 Page |D #:1371

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name. She was a -- she's a designer.

Q Was she brought in by Kahn?

A If you're saying who called her, yeah,
yeah, yeah.

Q And in the response itself to -- of these
components that you mentioned, what are the
component parts of the response as you -- as you
understand?

A There was basically two sections at the
highest level of -- without looking at it, 1 can't
remember what she called it -- what they called it.

But 1 -- you know, it's more the event
management elements of it and then the business
acumen portion of it. Those -- those are what 1
would consider the two large pieces, yeah.

Q And for the event management portion,

did -- are there separate subcomponents, as far as
you understand?

A Oh, yeah. There's quite a few, l believe.

Q Did Kahn Creative Partners play a role in

 

 

creating any part of the event management section in

the subcomponents?

A 1 would have to read it again, but I --

~____,

they did play -- from what recall, they played some

 

part in it, yeah.

 

 

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 28 of 81 Page |D #:1372

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A No.

Q None?

A None.

Q Of these items -- are there more items that

are within the event management that you believe
that Kahn Creative Partners had a role in creating
as far as the response?
(Document reviewed by the witness.)
THE WITNESS: Without going through it line
by line, not that 1 see.
BY MR. ALTMAN:
Q Okay. Of these parts, which one of them
involves, if any, involves audience acquisition?
A None that l can think of right now, yeah.
Not »~ not ”~ I'd have to have her read back exactly
which one. But 1 don't think any, yeah.
Q Of the business acumen portion -- would you

agree that that's a significant portion of the

response?
A Yes.
Q What role do you understand that Kahn

 

Creative Partners played in creating the business

 

acumen, Part 2?

 

 

I'm saying Part 2 because you said Part l.

 

~A Okay. Yeah.

 

 

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 29 of 81 Page |D #:1373

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What role?
/

 

Q Right. What do you believe they were

 

responsible for?

 

 

 

 

 

`A 1 mean, like a percentage or --
Q Sure.
t A, l'd have to read every single question
to -- which there's not ~~
Q Well -»
A There's not as many questions. There was

 

Only like nine, 1 think, so...

 

Q Okay. Well, we will be able and we may be

able to refresh your recollection.

 

A I've got an e-mail that 1 wrote -- sorry --

 

that 1 was kind of outlining how we were going to

 

attack that part of it, yes.

.L_

 

 

` Q Yes. And there's -- there are other
e-mails that were kind of -- the landscape changed a
glittle.
A Okay.
Q However, 1 guess right now, if you can

 

tell me as you sit here what you recollect in terms

 

of a percentage that Kahn Creative Partners was

 

responsible for as far as what we're calling Part 2.
A I'd rather not give a percentage unless 1

_ have to look at it, but --

 

 

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Case 2:10-cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 30 of 81 Page |D #:1374

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MS. NOVICK: Well, if you cannot give a

 

percentage with some degree of -- you know, an

 

estimate versus a guesstimate, then we can take some

 

time for you to read it.

 

THE WITNESS: 1 would have to say it was

 

~_¢-

probably close to 50-50, somewhere in there.

 

BY MR. ALTMAN:

_i__-u-_num--_--au_-_¢_‘

Q What percentage of the event management

 

overall picture, the Part l, do you believe that

 

Kahn Creative Partners was responsible for creating?

 

A Now that I've looked at it and --

 

15 percent maybe, somewhere. Again, that's an
Lestimation without having -- going through\
reverything line by line.

Q Do you -- so you -- you disagree with

Ms. Weber's testimony that Kahn Creative Partners

created somewhere in the area of 80 to 90 percent of

the response to the 2010 RSA conference proposal?
A Absolutely.
MR. ALTMAN: Exhibit 2.
BY MR. ALTMAN:
Q I'm going to show you ~-
MR. ALTMAN: Oh, okay. Sorry. Here you
go.
///

 

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that we had in Las Vegas, it was -- 1 got my boss to
meet some people I've worked with in the past that 1
think could, you know, be a good group for us to do

some work with.

Q Well, let me put it -- ask you this way.
A Yeah.
Q When you wrote this sentence, "a promising

partnership,“ had you presented other Nth Degree
business other than RSA -- the RSA conference to
Kahn Creative Partners at that the time?

A As a potential opportunity, have l -- when
you say have 1, did 1 present --

Q Well, did you "- you -- when you met with

 

them in Vegas and you -- did you -- did you present

 

to them other actual Nth Degree business other than

 

the RSA conference?

 

A 1 wasn't presenting to them the RSA

1_

conference at that point because it wasn't even -~
d

it was an idea that this "F one of our clients, RSA

 

being the biggest, may -- you know, my biggest

g

client, may do an RFP.

 

That was ~~ that was part of the

 

discussion, yeah.

Q You told Kahn Creative Partners that one of

__.r

your biggest clients may do an RFP?

 

 

 

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 32 of 81 Page |D #:1376

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A Correct.

Q You didn't tell them that they were going
to do an RFP?

A 1'm not sure exactly how 1 worded it or --
you know, 1 may have said "1'm assuming" or "1'm --
you know, Sandra has alluded to" or something like
that.

So was more about, "1'm pretty sure it's
coming," you know, is -~ was the discussion.

Q Did you -~ when 1 say "present," 1 mean did
you introduce, other than the -- any business, any

actual Nth Degree business other than this 2010
conference RFP at that meeting?

A We talked -- we talked briefly about Cisco

and what we were doing with them.

Q What you had done?

A No, and what 1 was doing at that point with
them.

Q Okay.

A We talked briefly about Qualcommrr which was

ianother client of Nth Degree's, and what we were

doing with them, and -- 1 think those are the
only ”» the only other ones -- sorry. 1'11 speak
up. The only other ones that we talked about.

Q Did you ask Kahn ~- Kahn Creative Partners

 

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 33 of 81 Page |D #:1377

 

  
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 153

03:10='51 l Creative Partners can partner for the RSA
03110=54 2 conference; is that correct?
03=10:55 3 A Correct.
03:10:56 4 ,Q -And she -- after this e-mail, did you or
03=11=00 5 anyone on behalf of Nth Degree, if you know, send
03:11:04 6 Fanything to anyone at Kahn Creative Partners that

a
03:11=03 7 "We are't not looking to you to be a partner or not` --
03:11=14 3 just not looking to you to be a partner in the RSA
03:11:17 9 7 'conference“?

v_______d_____
03:11:17 10 MS. NOVICK: Objection; calls for a legal
03:11119 11 conclusion, assume facts not in evidence.
03:11:21 12 ` You can answer.
03:11:22 13 'I`HE WI'I'NESS: NO.
03:11:22 14 BY MR‘. AL'I'MAN:
03=11=22 15 Q Did you or anyone on Nth Degree's side
03=11:29 16 indicate at all to -- in any -- in any writing of
03:11:33 17 any kind -- to Kahn Creative Partners that
03:11:39 18 Nth Degree was looking to Kahn Creative Partners to §
03:11:44 19 provide only audience acquisition?
03 11 49 20 A_ NO_
03:11:55 21 n Q Did you tell anyone or do you know if _
03:12:01 22 anyone at Nth Degree told anyone at Kahn Creative ii
03:12=03 23 Partners following this e-mail from Ms. Weber that
03:12=07 24 Nth Degree was looking to Kah_n Creative Partners to

¢;

03:12:11 25 provide only audience acquisition?

1

 

 

 

  

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 34 of 81 Page |D #:1378

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 154
0312 21 1 ` A Not only audience acquisition, no.
03:12:23 2 Q 1 don‘t understand your answer.
0332=25 3 A Well, we would say that it‘s to respond to
03=12=27 4 the marketing portion of this RFP.
03 12 31 5 g Right.
03 12 31 6 A_ ‘Yeah.
03£2:32 7 Q Did you »- did you say that in writing
0312=33 8 anywhere following this e-mail to -- from Ms. Weber?
03£2=40 9 _ A Not that 1 know of in writing.
03d2:43 10 Q Did you say it orally to anyone at Kahn
03£2=48 11 Creative Partners?
03;12:48 12 A_ Yes.
03:12:48 13 Q Okay. And when did you say it and to whom?
03£2:59 14 A It -- it was to Mike Trovalli.
03£3:06 15 Q Using this as a reference point as a date.
03£3=09 16 a That's what 1 was trying to do. Thank you.
03 13 09 17 Q Right.
0313=12 18 A Yes, it was -- it's probably January or
03£3:26 12 February with Mike Trovalli when we were talking
0353=33 20 about the specific RFP response in the -- in the
03u3=34 21 budget portion.
03£3:35 22 Q My issue is when you say "probably." I'm
03£3:39 23` asking for what you recollect.
03£3:40 24 So do you have a specific recollection of
03£3=43 25 telling Mike Trovalli that Nth Degree is only

 

 

   

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 35 of 81 Page |D #:1379

 

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Page 163

that you -- you know, you ”»

A Was not overly impressed with -- with Kahn
Creative Partners, yes.

Q And you conveyed those sentiments to Kahn
Creative Partners?

_A Correct.

Q And then you indicate to Ms. Weber that you

would like to talk to her about moving the RFP

process forward with Kahn Creative Partners; is that

CODT€CC?

A Correct.

Q Okay. Mr. Lowe, the business acumen or the

   
  
   
  
   
 
    
   
  
  
 
    
  

 

Part 2 section *- 1‘m using, again, your divisional

   

 

structure of the response to the RFP -- this is an

  

 

area that you believed you needed Kahn Creative

  

 

Partners in order to get this business; is that

COII€Ct? The RSA 2010 COHf€I€nC€?

    
 

 

A Personally 1 did, yes.

   

 

Q Okay. And you expressed that need to Kahn

.z

Creative Partners in terms of getting them to get on

/

board, join the partnership, and work on the 2010

     
   
  

 

conference; is that correct?

 

MS. NOVICK: Objection;

evidence, calls for legal conclusion.

You can answer.

assume facts not in

   
   
     

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 36 of 81 Page |D #:1380

 

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Page 164
BY MR. ALTMAN:
Q You may answer.
A Yes. 5
Q Okay. And, in fact, you believe that Kahn d
Creative Partners brought components and skills and

 

a skill set to the partnership that Nth Degree did

 

not have; is that correct?

1 l

You're look- -- 1 notice that you're

 

looking at your counsel.

 

 

 

a__ .
MS. NOVICK: No. 1 -» he's waiting for me
to object.
_""_'--_-~¢
THE WITNESS: Because you used the word
"partnership." LH
i-u-__-_-__-»¢

MR. ALTMAN: You can make it a standing »»

/ 1
let me make it a standing objection.

3

Objection; calls -- can 1 have

\

 

JMS. NOVICK:

a standing objection whenever you use the term

 

"partnership"?

MR. ALTMAN:

SUr@.

 

MS. NOVICK:

a

conclusion and assume

l_

MR. ALTMAN:

It Calls for a legal

facts not in evidence.
j

And just given that you're

 

pnder the tsuris of a

limit the amount that

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MS. NOVICK:

I'd like to

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TRO coming up,
you feel you have to object.

Thank you.

 

 

 

 

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 37 of 81 Page |D #:1381

 

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'Page 165

MR. ALTMAN: So it's a standing objection.

 

MS. NOVICK: Y€S.

 

MR. ALTMAN: SO, yes.
1

THE WITNESS: Say the question again.

/

BY MR. ALTMAN:

 

question back?

 

Q Sure.
A Sorry.
(m_______............____

MR. ALTMAN: Actually, can you read my

 

BY MR. ALTMAN:
L__M”________

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(The record was read as follows:

 

"Q Okay. And, in fact, you

 

believe that Kahn Creative Partners

 

brought components and skills and a

 

skill set to the partnership that

 

Nth Degree did not have; is that

 

correct?")

 

THE WITNESS: That‘s correct.

..l_

Q And the business acumen section did not
J

specifically relate to marketing; is that correct?

1

 

A 1t -- it didn't specifically relate to, 1

 

think, any one element of the event.

 

Q Right. So it wasn't -- but is it safe to

\.

say that it wasn't limited to marketing?

 

A Correct.

 

 

    

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 38 of 81 Page |D #:1382

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 165
03:25£5 1 MR. ALTMAN: So it's a standing objection.
03=25:20 2 MS. NOVICK: YeS. l
03=25=20 3 `_MR. ALTM.AN: So, yes. l
03£5=20 4 THE WITNESS: Say the question again.
03=25=22 5 By MR_ A;,TMA_N;
s..._.....__...._____..___¢
03=25;22 6 Q gure_
03=25 22 7 ‘ A_ Sorr§h §
m.__.._._,.,_,_,
03=25=24 8 MR. ALTMAN: Actually, can you read my
03£5=25 9 question back? §
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Th24=35 ll "Q Okay. And, in fact, you §
Th24=37 12 believe that Kahn Creative Partners §
1 §§
03¢M=40 13 brought components and skills and a §
03£4=47 14 skill set to the partnership that §
03£4:50 15 §th Degree did not have; is that §
03 24 50 16 EOrreCt?") §
03£4:50 17 THE WITNESS: That‘s correct. §
} §
03=24=50 18 BY MR. ALTMAN:
fB:Z€NZ 19 Q And the business acumen section did not :
03=26NM 20 `specifically relate to marketing; is that correct? a
03:26M2 21 A 1t -- it didn‘t specifically relate to, 1
6 1 1
03$%=21 22 _think, any one element of the event. §
0326=25 23 Q Right. So it wasn't -~ but is it safe to §
03£6=28 24 say that it wasn't limited to marketing?
cn=ze£l 25 A Correct.

 

 

 

   

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 39 of 81 Page |D #:1383

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

Page 166 §
03126='31 1 Q Okay. So you, Nth Degree, was looking to
03=26=35 2 Kahn Creative Partners for this partnership in the
03;26:40 3 `jE:sA 2010 conference -- standing objection noted --
03=26=44 4 for its background, experience, skills, skill
03=26:51 5 set beyond marketing; is that correct?
03=26:53 6 A Sure, yes.
03=26:54 7 3 And you presented that to Kahn Creative
03:27=00 3 Partners, did you not?
03127103 9 1MS. NOVICK: Objection; vague and

1 :_
03 =27 : 06 10 ambiguous .
03:27:06 11 THE WITNESS: Presented what?
03=27:07 12 BY MR. ALTMAN=
03:27:07 13 Q That you were looking to Kahn Creative
03=27=10 14 Partners for their business background, experience,
03=27=14 15 skills, their skill set, their expertise in areas
03:27=18 16 beyond marketing?
03:27=20 17 L A 'I'hat 1 thought that those skill sets --
03=27:23 18 yeah, that they were important, yes.
03=27=25 19 Q Okay. And when you had your five
03:27=32 20 (discussions with Mr. Trovalli where you indicated
03=27=34 21 to him that Kahn Creative Partners' role was limited
03=27=38 22 `to marketing as far as preparing the response to
03:27=42 23 t the RFP, did you have any conversation with him or
03:27=46 24 anyone else at Kahn Creative Partners explaining why
03:27:52 25 you looked to Kahn Creative Partners -- you,

 

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 40 of 81 Page |D #:1384

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 167 z
03=27=-56 1 LNth Degree, 1ooked to Kahn Creative Partners -- forJ
03:27=57 2 gnly marketing when you had previously indicated to
03=28=01 3 them that you looked to them for their skills,
03=20=04 4 background, expertise, specialty in areas beyond
03=23=07 5 marketing?
03:28=19 6 MS. NOVICK: Objection,- assumes facts not
03=28=21 '7 in evidence, 1 believe -- and 1 might be wrong --
03=28=25 8 that it misstates the tested.
03=26=27 9 BY MR. ALTMAN:
03=28=2'7 10 Q You may answer.
03=28=35 11 A Can you ask that question again?
03=23=36 12 Q 1Srure.
a_”i______#_ y
03=28=37 13 You've had three to five discussions with
03=28=43 14 Mr. Trovalli either a month after the RFP was
03=20=45 15 issued, two months, maybe even three months.
03=28=48 16 n And you indicated that you, in each of
-03=23=50 17 /these discussions, you would tell him or let him
03=28-‘54 18 know that you were looking -- Nth Degree was looking
03=28=56 19 to Kahn Creative Partners for a limited role of
03=28=58 20 marketing in the response -- preparing their l
03:29:01 21 response tO the RFP. l
03:29:04 22 l You've now testified that you haveJ
03=29=07 23 previously made clear to Kahn Creative Partners that l
03=29=09 24 y_ou were looking to them for their background, their ‘
03:29=14 25 experience, their skills, their skill set, their
1

 

 

 

 

WWAMWMMMWM§MMHmmmmmzmmw2Msgm:xwxmannwiawayman/aau./ahuawwm2kansasysx‘v‘y)?~'amrxeumazmMrsm:)smm:thsw:MvwamoM-“,»\.Jmmi»(m<'¢awmws:‘»m#,ssaa£n$z&§ma1x»f;v.:.¢=m:mmnm=w<n:<-wwxmW»:\wmm¢a»‘.w.u§zé:é¢>&:>$xbxz§mwmm~dm$ .`

 

Network Depos it ion Services , 1nc . ¢ networkdepo . com v 866-NET-DEPO
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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 41 of 81 Page |D #:1385

 

Page 231
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

KAHN CREATIVE PARTNERS, INC., an
Illinois corporation,

P:Laintiff,

Cause No.
CV10-00932JST(FFMX)

VS.

NTH DEGREE, INC., aka BEYOND THE
NTH DEGREE, INC., a Delaware
corporation; and DOES 10 to 10,
inclusive,

Volume II

Defendants.

\-._¢-._r-._¢\-._r~...¢~._¢\~_¢~._r\-._¢\-._a~._r\-._¢~._¢-_r

 

VIDEOTAPED DEPOSITION OF ROBERT A. LOWE
Houston, Texas

Tuesday, February 22, 2011

Reported by: Dorothy A. Rull
CSR NO. 3978
NDS Job No: 141660

 

 

 

      

     

‘s»M:L-¢mw;z»m:w.zmu»<»m`::_..\ Mwwm¢mmmwmmms;)smw , ~mms-2191»an!menmnwvmmmm;\'¢o'sis>z:zmmw :13-swmmwwmamrwz.wwawymanseas-wmamemz¢,;):=m;aw>“.m>m;:x:swzww"

 

\w>wmsa:>zsamw: mummr-exaw~¢=i.':»awyi>‘zs:§ . ‘“

Network Deposition Services , 1nc . 0 networkdepo . com 0 866-NET-DEPO
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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 42 of 81 Page |D #:1386

 

 

 

 

 

 

 

 

502

1 their head, but what 1 believe kept them more

2 interested.

3 Q. I'm not asking about what kept them.

4 What 1 -- what 1 want to know from you

5 is: When do you recollect first representing to Mike

6 Trovalli that Nth Degree intended for Kahn Creative

7 Partners to only get the audience acquisition portion

8 and nothing else? When was that first representation

9 made?
10 A. That was early on after we got the RFP,
ll yeah.
12 Q. Okay. So prior to the issuance of the
13 RE`P --
14 A. No. After we got the RPF.
15 Q. Okay. So my question to you is: Because
16 you received the -- you received an early draft of the
17 RFP, and then you received the actual official issuance
18 of the RFP.
19 A. Yes.
20 Q. Prior to even the early draft, receiving the
21 early draft of the RFP from ~~ from RSA, had you ever __'
22 represented to Mike Trovalli that Nth Degree's 145
23 intention was that Kahn Creative Partners would only
2@ get the audience acquisition and nothing else? _~
25 A. Prior to getting that?

 

 

 

 

Neiworl< Deposition Services, Inc. ° networkdepo.com ‘ SGG~NET~DEPO

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 43 of 81 Page |D #:1387

 

 

505
l Q. Yes.
‘_“_F_____w__i_i.

2 A. 1 didn't know what was being RFPed at that

3 _§E:EE_;;

4 Q. Right.

_“*__i_,__“__”m_

5 A. ~- so no.

6 Q. Right. But you were ~- you had engaged in

7 meetings and discussions and brainstorming even before

8 the issuance of the RFP, you and Kahn Creative

9 Partners?
10 MS. NOVICK: 1'm going to -- objection,
11 that assumes facts not in evidence and mischaracterizes
12 his prior testimony.
13 MR. ALTMAN: Well, he's testified that
14 he met with him in Las Vegas, he met with them in the
15 Marina, he met with them ~~
16 MS. NOVICK: The marina was after the
17 issuance of the RFP. RFP was issued January 26th.
18 MR. ALTMAN: And when do you believe
19 the marina meeting took place?
20 MS. NOVICK: Well, the one I'm speaking
21 about which was the brainstorming was in February.
22 MR. ALTMAN: NO. But there was *-
23 there was a prior...
24 BY MR. ALTMAN:
25 Q. You met a number of times in the marina, did

 

 

 

Ne‘cworlc Deposiiion Services, Inc. ' networkdepo.com ‘ BGS~NE.T~DE.PO

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 44 of 81 Page |D #:1388

EXHIBIT 102

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 45 of 81 Page |D #:1389

 

Zimbra: rsainfo?@kahncreative.con~i . _ Page 1 of 2
Zirnbra Coilaboration Suite ` rsainfoz@l<ahncreative.com
chi: Talk Friciay, July 18, 2008 11:21:50 AM

From: sharon.weber@kahn'creative.com .
To: bill.kahn@kahncreative.com

fyi

Sharon Weber

Pn'ncipal / Branc! Strategist

Kahn Creative Partners
sharon.weber@kahncreative.com
O - 702-818-2510

M - 310-480»7129
www.kahnr:reative.com

----- Forwarded Message -----

From: "Robert Lowe" <riowe@nthdegree.com>

To: "sharon weber" <sharon_weber@kahncreative.com>

Cc: 'Karen Daniele" <KDanie|e@nthdegree.com>-, ".'leannie Blair" <jb|air@nthdegree.com>
Sent: Friday, Ju]y 18, 2008 7:37:35 AM GMT »08:00 US/Canada Pacch

Subject: RE: Tali<

Great to hear... I am going to CEMA {Computer Event Marketing Association ) next week but 1 will try to
see about setting something up later next week.... Are you around?

Robert Lowe | VP - Event Architect, Nth Degree Events | p 281.304.9566 | c 281.851.7548

Nth Degree Events | www.nthdegreeevenis.com <http://www.nthdegreeevents.com> 1 Connecting v
People and Business

From: sharonsoottweb@aol.com [maiito:sharonscottweb@ao[.com]
Sent: Friday, July 18, 2008 6:32 AM

To: Robert Lowe

Cc: sharoniweber@kahncreative.com; bi|l.kahn@kahncreative.com

Subject: Re: Tafk

Hi Rob:

A|ways a joy to catch up with you as well. Glad that all is wel|----can't believe how fast your kids (and
minel) are growing up.

Yes, I did speak with Bil| and we are both interested in talking to you further about a strategic
partnership around the RSA (and possibly beyond.)

Should we set up a call for next week to discuss further? l_et me know how you would like to proceed.

Please start using my Kahn Creative Partners email (sharon.weber@kahncreative.com) as l dnn't check
ao| on a daily basis (which is my fabu|ous excuse for not responding to you earlieri)

Taik soon---
ono---Sharon

l-\'|~{'v\o-i'/-:r;m]»\m iro}'\“l\mal~;tr¢\ r\nth.|r'?iml"'l?nlf\'"l'\"t'/`Pl'$\anhPhFTr-TPI“ET ;mq{d=q&asvncmle 901 112009

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 46 of 81 Page |D #:1390

Zimbra: rsainfo2@kahncreative.com Page 2 012

Sharon Scott Weber

Principa[, Brand Strategist

Kahn Creative Partners

16 Topsai| Street

Marina del Rey, CA 90292

Mobile 310.480.7129

Ofiice 702.818.2501

Horne 310.821.2531
sbaron.weber@kahncreative.corn

WWW. Kahncreative .corn

----- Original Message-----

From: Robert Lowe <riowe©nthdegree.com>
To: Sharonscottweb@aoi.com

Sent: Wed, 16 Ju| 2008 11:42 am

Subject: Talk

Sharon,
Ii; was nice catching up with you (a iittle) yesterday... 1 know you are swamped but wanted to see if you

had a opportunity to that with Bi|| about our conversation... just let me know if you guys are interested
in talking about RSA and the opportunity I see uponming.

Rob

Robert Lowe i VP - Event Architect, Nth Degree Events l p 281.304.9566 | c 281.851.7548

Nth Degree Events | www.nthdegreeevents.com <h'ctp://www.nthdegreeevents.com/> 1 Connecting
Peop|e a nd Business

 

The Famous, the lnfamous, the Lame - in your browser. Get the TMZ Too|bar Now
<http://too|bar_aol.com/tmz/downioad.html?NCID=aolcmpOOO50000000014> !

hth://Zimbra.kahncreatjve.comfzimbra/nub]ic/frameOoonerHoloer.iso?id=3 &asvnc=true 9/21/2009
0 1 00 02

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 47 of 81 Page |D #:1391

EXHIBIT 103

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 48 of 81 Page |D #:1392

From: Robert Lowe <rlowe@nthdegree.com>

Sent: Monday, May 18, 2009 6:15 PM

To: 'sharon' <sharon.weber@kahncreative.com>; 'mike.troval|i@kahncreative.com'
Bcc: Jeannie Blair <jb|air@ntndegree.com>; Karen Danieie <KDanieie@nthdegree.com>
Subject: Initiai Thoughts

 

First, thank you for all the work you ail did today...second, l am sending this oniy to the two of you because | don't even want
to imagine what C|are’s response would be to this note, and quite frankly | don't want to see it.... l know how smart she is but
she has an unique abiiity to make everyone feel stupid and inferior to herseif, and l am not a unsecure person ©... whatever it
is l am sure she is great in presentations so l will hold my tongue to get through this

We have a few concerns and thoughts on what you proposed this afternoon:

1) After reading Sandra’s note once again 1 am not sure your approach really answers her
requests in a way She will be able to connect. She specifically says

“Uur goal for this on“site meeting is to have you showcase your strategic thinking. Bosed on your
reading (and onaLysis) of o recent New Ybrker ortic£em we wouLd Like you to present on two
important ports of our business where we feeL are a bit of o "Dovid" fo the competitors

"Gol_ioths. " Your job during this meetings is to articulate how con we change the rules to create
o more winning proposition for each piece of business.... hith our Duvid strategy should be for both
the 355 and Europe___”

While l understand that you are hoping to get to these points throughout the presentation and within the universe metaphor,
l am not sure you are taking an direct enough approach towards “answering” her questions l think that the David and Go|iath
metaphor is much more than the initial CHANGE THE RULES lesson. A statement was made on the call that it was too thin to
allow us the needed breadth to really cover all that we need to, and | reaily don't think that is correct. l think the metaphor
can be expanded out exponentiaily to cover everything we need to cover in the discussions

| do however understand the need to look at the conference and all of its elements holistically and even the priority of doing
such a thing, so lf you all think that the universe metaphor is the way t`o go we will support it for your messages

 
  
 
 
 
 
 
 

2) Th'e second concern we have with the ”strategic, higher level message” is that this is not something that BruceJ Karen
orie-annie are comfortable delivering lt is not what we l’are" to them and feel that it could come off somewhat forced if we
try to insert ourselves into this message. {You and | should talk about why this is the case over dinner sometime) We feei that
it is important for you all to provide them with this type message and to get across since you are new to the team and were
brought into this team to exactiy fill this void... so we were wondering if we could figure out a smooth way to give them the
best of both. ls there a way to present to them in a way that they will get all the strategic, big thinking direction, allowing us
to provide our historical knowledge and understanding that they need specifics? Could we be the ones who drill down into
some of the ideas and discuss how they could work realistically????

L._..._-r
3) The last thing, which we ali talked about on the cai| is our hesitation of them becoming engaged with the

conversation and discussion. l think it can be done but should not be expected to be as easy as you all might think, especially
since we will be “meeting” with people in London, Boston and in San |Vlateo.

 

 

Fee| free to cut portions of this note and send it to Clare and team... just needed you to understand that Clare’s approach has
really shut off my team from saying much because her reactions are so ..."what are you stupid”.... As you could likely tell, |
was trying to get Bruce and team to chime in more but they told me that it never feels like she cares what anyone says and

really has her mind made up....just an fyi
Cali tonight if you want.... We will figure this out but l underestimated how hard it would be to get two groups of different

types of thinkers to get on the same page... working virtually really makes this hard....

Let me know what you think we should do next...

D 0332`1

Case 2:10-Cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 49 of 81 Page |D #:1393

Robert Lowe | VP - Event Architect, Nth Degree Events l p 281.304.9566 | c 281.851.7548

Nth Degree Events [ www.nthdegreeevents.com | Connecting Peop|e and Business

D 03322

Case 2:10-Cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 50 of 81 Page |D #:1394

EXHIBIT 104

Case 2:10-Cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 51 of 81 Page |D #:1395

 

Zimbra: tsainfoZ@kahncteative.oom Page 1 of l
Zimbra Collaboration Suite rsainfo?.@kabncreative.com
Thanks Thlu'sday, August 07, 2008 6:25:35 PM

From: rlowo@nthdegree.com

To: dean@hillskahn.net; bill.kahn@kahncreative.com; mike.u~ovalli@kahncreative,oom;
sharon.Weber@kahncreative.com; dean.hills@kahncroative.com

Cc; KDaniele@nthdegrea.oom

ljust wanted to send you all a quick note saying thanks for taking the time to meet with us in Vegas
yesterday. i felt it was a productive step towards a promising partnership

 

Let me know if you have any questions otherwise l will be in touch soon.

Rob

Robert Lowe l VP - Event Architect, Nth Degree Events l p 281.304.9566 l c 281.851.7548
Nth Degree Events | www.nthdegreeevents.com I Connecting People and Business

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Case 2:10-Cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 52 of 81 Page |D #:1396

EXHIBIT 105

Case 2:10-Cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 53 of 81 ' Page |D #:1397

 

lebra: rsamto@,lcahnoreative.oom Page l of 3
Zimbra Collaboration Suite rsainfo@kahncreative.com
Fwd: RSA Meoiing F allow Up Sunday, luna 28, 2009 9:43:22 PM

From: sbaron.weber@kahncreative,com
To: rsainfo@kalmcreative.com

Sharon Weber

Principal / Brand Strategist

Kahn Creative Partners
sharon.weber@i<ahncreative.com
O - 702-818-2510

M - 310~480-7129
www.kahncreative.com

----- Forwarded Message -----

Frorn: "Robert Lowe" <rlowe@nthdegree.com>

To: "Sharon Weber" <sharon.weber@i<ahncreative.com>, "Karen Daniele"
<KDanieie@nthdegree.com>, "Jeannie Blair" <jblair@nthdegree.com>
Sent: Wednesday, December 10, 2008 6:56:47 AM GMT ~08:00 US/Canada

Paciflc
Subject: RE: RSA Meeting Follow Up

Thanks for the note but the attachment did not make it through. You may want to post it to your project
site and let me know how to access it....

l have no issue with you sending along a note and a copy of the aforementioned book... great idea_

We were wondering if'you and whomever from your team you feel necessary, would be available for a

conference call the afternoon of Mondaylanuary 5th? Bruce and | will both be in Baston with Jeannie
and Karen that afternoon and think it would be a great time to chat about our next steps.... What do you

think?

lt was GREAT seeing you again and l can't wait to start working together on this... somehow ©

Rob

Their contact information:

Paula.belikove@rsa.com
Sandra.toms-iagedis@rsa.com

RSA conference
177 Bavet Rd., Ste. 200
San Hateo, CA 94402

 

L\H‘r\¢--H'r;ml\m l.rn'['\r\r\v'.oa+';'wp r~nrr\/-r'vv\]-\m-'
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Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 54 of 81 Page |D #:1398

Zimbra: rsainfo@kahncroative.cotn - Pag€ 2 05 3

Robert Lowe l VP - Event Architect, Nth Degree Events 1 p 281.304.9566 | c 281.851.7548
Nth Degree Events l www.nthdegreeevents.com l Connecting People and Business

 

From: Sharon Weber [mailto:sharon.weber@kahncreative.oom]
Sent: Wednesday, Decernber 10, 2008 7:43 AM

To: Robert Lowe; l<aren Danie|e; Jeannie Blair

Subject: Fwd'. RSA Meeting Fo|iow Up

Trying this a second time as the file was too large to get through. We'!l set up
a page on our KCP project site where I can post this.

All best,
Sharon

Sharon Weber

Principal / Brand Strategist

Kahn Creative Partners
sharon.weber@kahncreative.corn
0 - 702-818-2510

M ~ 310-480-7129
www.l<ahncreative.com

----- Forwarded Message ~--»~

From: "Sharon Weber" <sharon.weber@l<ahncreative.corn>

To: “Robert Lowe" <riowe@nthdegree.com>, "Karen Daniele"
<KDaniele@nthdegree.co`m>, "Bill Kahn_" <bill.kahn@kahncreative.com>
Sent: Wednesday, December 10, 2008 5:37:56 AM GMT -08:00 US/Canada
Pacific

Subject: RSA Meeting Follow Up

Dear Rob, Karen and Jeannie:

Many thanks again for arranging a meeting with Sandra and her team to
introduce Kahn Creative Partners to her.

1 felt that the meeting was very productive and set a good foundation for our
continued dialogue around how our two companies can partner in a
collaborative relationship for the RSA conference Congratuiations on what
you have achieved to date in both developing an agency type relationship
with Sandra and her team and in creating a unique and valuable conference
experience for the RSA conference attendees.

As follow up and toward the objective of helping Sandra with the RFP
development process, attached is the response that won the JD Edwards
business for Jack Morton a few years back. It may be a good starting point for
helping Sandra organize the conference components into distinct elements

010079

Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 55 of 81 Page |D #:1399

Limbra: rsainfo@kahncreative,com m Pago 3 of 3

I'd like to send Sandra and Paula thank you notes with a copy of “A
Technique for Producing’ldeas“ if you are okay with that. Please let me know.

Thanl<s again for introducing us and we look forward to the continued
dialogue.

Happy Holidays to all of you.

With warmest regards,
Sharon

Sharon Weber

Principal / Brand Stral:egist

Kahn Creative Partners
sharon-.weber@l<ahncreative.corn
0 ~ 702-818-2510

M - 310-480-7129
www.kahncreative.com

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Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 56 of 81 Page |D #:1400

EXHIBIT 106

Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 57 of 81 Page |D #:1401

 

Lunora: rsalnlo@t<anncreanve.com Page 1 of 2
Zimbra Collaboration Suite rsainfo@ka.bnoreative_com
Fwd: catch up Sur_iday, lime 28, 2009 9:58:43 PM

’irom: sharon.weber@kahncreative.com
To: rsainfo@kabncreative.com

RE strategic approach to RFP response

Sharon Weber

Principal / Brand Strategist

Kahn Creative Partners
sharon.weber@l<ahncreative.com
0 - 702-818-2510

M - 310-480~7129
www.kahncreative.cor-n

----- Forwarded Message -~---

From: "Robert Lowe" <rlowe@nthdegree.com>

To: "Sharon Weber" <sharon.Weber@l<ahncreative.com>

Sent: Wednesday, February 4, 2009 3:46:01 PM GMT -08:00 US/Canada
Pacitic

Subject: catch up

Sharon,
Got you message... when can we talk tomorrow... feel it will be good to chat after you catch up with Clare

tonight... what times would work for you tomorrow?

l want to put an agenda and some sort of process to what we are going to do next week and even put
some pre~work in the minds of the participants before next weel<'s session. l really think this is important
in order to get the most out of our precious face to face time....

l really think there are a few high level things we need to address as well as all the brainstorming for the
Biz Acumen section. Thinking out loud here are the high points we need to address before we get into

the nitty~gritty....

What is our overarching approach, theme and voice for our response? (Wrapper}
How do we want to approach all the different decisions makers throughout the process? There are 7 RSA

Conference team members
What are our initial thoughts on “design” ideas for our response? {wi|l most likely come after our

brainstorming time)
What do we want the RSA Conference team members to experience when they are reading our response

and ”seeing” our presentation?
What is the best way to present our partnership to them?
and l am sure more will come...

rn in a bunch of meetings tomorrow and have a Dr’s apt which will cause me to be out of touch from
about 10 CST to Noon CST.... Let me know what may Work for you...

nfl "If')f'\l'\¢'\

https://zimbra.kahncreative.oom/zimbraf
01 2962

Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 58 of 81 Page |D #:1402

Zimbra: rsainfo@lcahncreative.ogm l-‘age z ot 2

Rob
PS -Got a note from Denise Cannon today... about intel iDF, interesting world we live in ©

Robert Lowe | VP » Event Architect, Nth Degree Events l p 281.304.9566 l c 281.851.7548
Nth Degree Events l www.nthdeg`reeevents.com l Connecting People and Business

https://zimbra.kahncreative.com/zimbra! - on 719an
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Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 59 of 81 Page |D #:1403

EXHIBIT 107

Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 60 of 81 Page |D #:1404

 

Z.imbra: rsainfoZ@kahncreative.oomf j -Page i of 2
Zimbra Collabotation Suite rsaint`oZ@kahncreative.com
Fwd: RFP d ' Monday, January 12, 2009 6:46:05 AM

From: sharon.weber@ka.hncreative.corn
To~_ panners@kahncreaijve.com

From Rob on the RSA RFP proposal for discussion on tomorrow‘s partner call.

Thanks,
Sharon

Sharon Weber

Principal / Brand Strategist

Kahn Creative Partners
sharon.weber@kahncreative.com
0 - 702-818~2510

M - 310-480-7129
www.kahncreative.com

~~~~~ Forwarded Message --~-~

From: "Robert Lowe" <rlowe@nthdegree.com>

To: "Sharon Weber" <sharon.weber@kahncreative.com>

Sent: Monday, January 12, 2009 6:22:04 AM GMT -08:00 US/Canada Paciric

Subject: RFP

Sharon, .
l sent this note out to my main internal team (Karen, Bruce &.Ieannie) regarding our initiai thoughts and

conversations for the RFP discussion and brainstorming. Please take a look atit and feel free to send it on
to anyone inside Kahn you feel necessary (Let me know if you have any ideas who this may be)

l just wanted you to know where l am mentally on this RFP....

Approach:

§ 1) Answer all the questions as if this were our entry into this projMat l mean with this is we
cannot ailow ourselves to get caught in the trap of saying ”they know ho&iiv, we do that” or "we

taught them how to do that,” rather we must answer the question completely and
professionally. We must understand that this proposal is likelyto have` legs inside RSA and even
EMC and must give Sandra the needed ammo forjustifying retaining Nth Degree and team.

2) We must approach the "Business Acume'n” section differently than we have ever done. After
speaking to Sa ndra in Iength, this is the area, besides the $$$ element, that she is going to pay the
most attention. This"area is Where RSA hopes to get a g|irnpse into the conference's future, and
we must be the team who provides the best picture and direction.

After a few discussions between Jeannie, Bruce and l, We have landed on the initial idea

of actually trying to give her a narrative of what the event will be like from an attendees

perspective 5-15 years from now. We are investigating a few ideas on how to best do

this and will discuss them next week.

a.

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Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 61 of 81 Page |D #:1405

lebra: rsajntoz@kahncreative,com . Page 2 Of2

r

b. Strategic Direction - we all should be familiar with Sandra hopes and wishes in this area,
we just need to develop the ”wrapper” for the entire RSA Conference brand. This goes '
way beyond the conferencesl themselves and dives into the web and any other brand
extension elements we can come up with.

3) Marketing - this is where we will need to define the role Kahn Creative will play in this proposal
and project lt is my hope that we can replace all of what The l-iacker Group currently does with
resources from Kahn Creative. We should discuss this further as a group.

4) Budgeting - Sandra is not yet sure how she is going to request the budget information Cluite
frankly she is confused as to what the best approach for this will be. We should talk about what
we would suggest she do for this section of the RFP, if we have an approach that we feel will
show us in the best light.

5) Audio visual, Production and connection- l am going to ask her about why this section currently
sits in the RFP because of the RFP process we went through earlier this year for the “John
Halloran” elements of the event??? l can't see her wanting to go through this again just one year
later, but l suspect that if another company were awarded the project, they would want to bring
in their own production resources to the project... but | wonder if she really wants us to "re-bicl”
this sectio n???

We can start our conversation this week on the above points.
Talk soon,

Rob

Robert Lowe | VP - Event Architect, Nth Degree Events 1 p 281.304.9556 ] c 281.851.7548
Nth Degree Events [ www.nthdegreeevents_com f Connecting People and Business

013094

Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 62 of 81 Page |D #:1406

EXHIBIT 108

Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 63 of 81 Page |D #:1407

JEAN E. BLAIR January ll, 2011
1

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

KAHN CREATIVE PARTNERS, INC.,
an Illinois corporation,

Plaintiff,
NO. CV-10-0932

VS.

NTH DEGREE, INC., aka BEYOND
NTH DEGREE, INC., a Delaware
corporation,

Defendant.

 

VIDEOTAPED DEPOSITION OF JEAN E. BLAIR
January 11, 2011

10:04 a.m.

725 South Figueroa Street, Suite 2500
Los Angeles, California

Diana Janniere, CSR-10034

 

 

 

_ Toll Free: 877.342.5600
Facsimi|e: 310.286.0276

 

SUite 500

E S l ]:RE 1875 Century Parl< East
Los Angeles, CA 90067

nnearldaoniucummy www.esquiresolutions corn

Case 2:10-cv-00932-.]LS-FFl\/| Document 40 Filed 03/14/11 Page 64 of 81 Page |D #:1408

 

JEAN E. BLAIR January 11, 2011
. 123
1 receiving the attachment. There is a -- there appears
2 to be a two-page epreadeheet at the top -- at the very
3 top of the epreadsheet, it says, "Part 2 Business
4 Acumen." Do you recall receiving this epreadsheet?
5 MR. SIEGEL: Can I have some clarification?

6 Page 1 and 2 of the exhibit appears to be two separate
7 E~maile. So I am not sure -- do we have the same --

8 BY MR. MASUTANI:

9 Q Well, you know, in looking at this E-mail, it
10 looks like the -- the spreadsheet might have been

11 attached to the Patty Anderson to Nonie Ravenberg

12 E-mail, but I am wondering if you take a look at the

 

 

 

13 attachment, there is a spreadeheet.

14 Do you recall receiving the spreadsheet,

15 reviewing the spreadsheet?

16 . tMR. SIEGEL: Your first is different than our

 

17 first page.
¢____........,.._,.,,.,,_,,,____
18 THE WITNESS: Yeah, 1 think it doesn't -- the

19 first page doesn‘t belong With this.

 

 

 

 

 

20 L¥R. SIEGEL: We don't have this -- l think if }
21 you take off this page, it Starts the right --

22 ' ('IHE WITNESS: May'be that ' S it .

23 MR . MASUTANI: Let ' S dO that .

24 MR. SIEGEL: Can we start over?

 

25 BY MR. MASUTANI:

 

 

 

 

Toll Free: 877.342.5600
Facsimile: 310.286.0276

 

Suhe 500

ES l , ]:RE 1875 Century Park East
Los Angeles, CA 90067

““ '“°“"'“d" Ga““ °"“‘"a“” www.esquiresolutions.com

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 65 of 81 Page |D #:1409

 

 

 

 

 

 

 

JEAN E. BLAIR January 11, 2011
124
1 Q Sure. I wanted you to take a look at this
2 5-mail and, more importantly, the attachment to the-l
3 E-mail, which is an Excel spreadsheet.
4 Do you recall seeing the spreadsheet which
5 delegates responsibility with respect to responding to
6 the Business Acumen portion of the Request For Proposal?
7 A l do.
8 Q And in terms of the delegation of duties in

 

9 this spreadsheet, do you recall whether the delegation

 

 

 

 

 

10 was agreed to at that February meeting or is it

11 something, you know, that was created afterwards?

12 h l_A The February meeting, the face»tb~facedmeeting
13 at Sharon's --

14 Q Yes. 1 am wondering if you have any knowledge
15 as to who -- who came up with this spreadsheet in terms

 

16 of the delegation of the duties?

 

17 MR. SIEGEL: Calls for speculation.

 

18 ;HE WITNESS: lt looks like Rob would have
19 put together this spreadsheet, if he had input. I am
_20 sure he had input of some kind from other team members.

2l BY MR. MASUTANI:

22 Q Do you recall whether or not there was

23 specific discussion at that February meeting as to how
24 the Business Acumen section would be delegated?

25 A 'l don't recall.

 

 

 

Toll Free: 877.342.5600
Facsimi|e: 310.286.0276

 

Suite 500

ES | l IRE 1875 Century Park East
Los Ange|es, C`A 90067

an Al=xamlur Gallo (‘.nmpauy WWW.€Squireso|utions-Com

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 66 of 81 Page |D #:1410

EXHIBIT 109

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 67 of 81 Page |D #:1411

tube n va. 1

Zimbra Collaboration Suite rsajnfo@kahncreaiivo.com

Fwd: Agency RFI Monday, Iune 29, 2009 7:17:42 AM

From: sharon.weber@kahncroative.oom
To: rsajnfo@kahncreative.cona `
Atmchments: RSA Conference 2010 -- AGENCY RFI,doc (148.`?KB)

Sharon Weber

Principal / Brand Strategist

Kahn Creative Partners
sharon.Weber@kahncreative.com

0 - 702-8-18-2510

M - 310-480-7129

Www.kahncreative.c:om

----- Forwarded Message -----

From: "pauia belikove" <pauia.belikove@rsa.com>

To: "Sharon weber" <sharon.weber@kahncreative.com>

Cc: riowe@nthdegree.com
Sent: Wednesday, Apri_| 1 2009 4:16:42 PM GMT »08:00 US/Canada Pacific

Subject: Age-ncy RFI‘

Sharon

Attached is the agency RFI we discussed on the phone last week. lt's a more formal version of what was
put in the originai RFP ~ but shouldn't change your outlook on what we‘re asking for.

P|ease let me know if you have any questi§)ns!

Paula §

011*1"“"

lttps://zimbra.kahncreative.com/zimbra/

011166

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 68 of 81 Page |D #:1412

EXHIBIT 1 10

 

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 69 of 81 Page |D #:1413

 

From: crobertsonassoc@aol.com

Sent: Monc|ay, May 18, 2009 11:59 AM

To: Robert Lowe <r|owe@nthdegree.com>; sharon.weber@kahncreative.com
Subject: Re: RSA 2010: RFP Next Steps

Rob/Sharon,

Was thinking about all of you this weekend and wondering how its all going. Shou|d I give Linda a call to see if she
would like to touch base before the 28th?
Cathy

----- Origina| Message-----

From: Robert Lowe <r|owe@nthdegree.com>

To: crobertsonassoc@ao|.com <crobertsonassoc@ao|.com>
Sent: Wed, 13 May 2009 21:56

Subject: FW: RSA 2010: RFP Next Steps

Cathy,

I just wanted to reach out to you and show you (below) how the Client has
responded to us and what they are asking for us in regards to the face to face
presentation. As you will see, the European event is the Second largest element
that we are to focus on....

We are trying to develop a strategy for the face to face presentation, including
how and who will be involved in the presentation.

Just wanted to keep you in the loop... either Sharon or l will get back to you
ASAP.
FYI~ Linda received our package yesterday with all the RFP documents... she is

plowing through them now..
Rob

Robert Lowe l VP - Event Architect, Nth Degree Events f p 281.304.9566 l c
231.851.7548
Nth Degree Events l www.nthdegreeevents.com ] Connecting People and Business

~~~~~ Original Message-----

From: sandra.toms-lapedis§rsa.com,[mailto:sandra_toms-lapedis§rsa.oom]
Sent: Wednesday, May 13, 2009 12:58 PM

To: Robert Lowe; Karen Daniele

Cc: rsa.RSAConferenceTeamEemc.com
Subject: RSA 2010: RFP Next Steps

Importance: High
Hi Rob and Karen,

Thank you for your thoughtful RFP response. We would like to invite
your firm to participate in the next level of discussions with us, which
involves presenting to the RSA Conference team:

* Linda Lynch via video phone in Bracknell, UK;
* Jeanne Friedman (RSA365 Editor) & Diane Staheli (webmaster) Via

video phone in Bedford, MA
* and the RSA/EMC procurement manager (Bill Meehan via conference

call)
In person attendees include Becky Kavanagh, Paula Belikove and I, as
well as my direct manager (Brian Fitzgerald, VP of Marketing, RSA)

This meeting will take place:

Thursday, May 28, 2009, 9:30 a.md - noon (Pacific)
RSA offices at 177 Bovet Dr_, Ste 200, San Mateo, CA

Our goal for this on-site meeting is to have you showcase your strategic

D 03319

 

 

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 70 of 81

tginking. Based on your reading (and analysisl of a recent New Yorker
artic e written by Malcolm Gladwell titled
httn://www.newvorker.com/reoortine/Z009/05/11/090511fa_factio1adwell
<htt : www.new orker_com services referral?messa eKe _54c50360c28998055
5ee219b5eedf886> , we would like you to present on two important parts
of our business where we feel are a bit of a "David" to the competitors
"Goliaths." Your job during this meetings is to articulate how can we
change the rules to create a more winning proposition for each piece of
business.

So specifically, we would like you to tell us:

l) What our "David" strategy should be with RSA 365 (QO-minutes) --
Goliaths here can include other web portals or event sites.

2) What our "David" strategy should be with RSA Conference Europe 2010
(GOWminutes) -- the Goliath is InfoSec Europe and corporate events.

And finally, be prepared to answer questions we may have as a result of
your response to our RFP (30-minutes).

Additionally, we request that the agency members who will make up our
day-to-day team be in the room and present portions of this plan.

e believe this discussion will be an exciting way for your agency to
show us what you've got. Please let me know if you have any questions
or issues with the time/date we've slotted for you.

Please also let me know if you_will need a projector or an Internet
connection to support your presentation (note that because of our
security policies, your computers will not be able to access the
Internet at our offices; we will provide a computer for your if
necessary for Internet access).

Regards,
Sandra

Sandra Toms LaPedis i AVP/GM RSA Conference | P: 650.931.9680 | F:
650.573.9674 | www.rsaconference.com <htto://www.rsaconference.comL>

Page |D #:1414

 

Click here to get the very best of AOL, including news, sport, gossip, lifestyles updates and emaii.

D 03320

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 71 of 81 Page |D #:1415

EXHIBIT 11 1

  

  

Case 2:10-CV-00932-.]LS-FFl\/l Document 40 Filed 03/14/11 Page 72 of 81 Page lD #:1416

From: Robert Lowe <riowe@nthdegree.com>

Sent: Monday, May 18, 2009 6:15 PM

To: ‘sharon' <sharon.weber@kahncreative.com>; 'mike.trovalli@kahncreative.com'
Bf:.c: Jeannie Blair <jb|air@nthdegree.com>,' Karen Daniele <KDanie|e@nthdegree.com>
Subject: Inil:ial Thoughts

 

Firsl:, thank you for all the work you all did today..,second, l am sending this only to the two of you because l don't even want
to imagine what Clare's response would be to this note, and quite frankly l don't want to see it.... l know how smart she is but
she has an unique ability to make everyone feel stupid and inferior to herse|f, and l am not a unsecure person ©.,. whatever it
is l am sure she is great ln presentations so l will hold my tongue to get through this

We have a few concerns and thoughts on what you proposed this afternoon:

1) After reading Sandra's note once again I ain not sure your approach really answers her
requests in a way she will be able to connect. She specifically says

”Gr.lr' gool_ for this orr-site meeting is to have you showcase your' Str‘crtegic thinking. Bosed on your
reading fund unatysis) of a recent New Yorker‘ ur‘l_'icLe... we would L'£ke you to present on two
important ports of our business where we feet ore a bit of o "Duvid"` to the competitors

"Gotiaths. " Your job during this meetings is to articulate how can we change the rules to create
a more winning proposition for each piece of business_._. what our Duvid strategy should be for both
the 365 and Europe...”

While l understand that you are hoping to get to these points throughout the presentation and within the universe metaphor,
l am not sure you are taking an direct enough approach towards “answering” her questionsl l think that the Davld and Gollath
metaphor is much more than the initial CHANGE THE RULES lesson_ A statement was made on the call that it was too thin to
allow us the needed breadth to really cover all that we need to, and l really don't think that is correct. l think the metaphor

can be expanded out exponentially to cover everything we need to cover in the discussions

l do however understand the need to look at the conference and all of its elements ho|istlca||y and even the priority of doing
such a thing, so lf you all think that the universe metaphor is the way to go we will support it for your messages

 

2) The second concern we have with the "strategic, higher level message” is that this is not something that Bruce, Karen
or leannie are comfortable delivering lt is not what we "are” to them and feel that it could come off somewhat forced if we
try to insert ourselves into this message (You and l should talk about why this is the case over dinner sometime} We feel that
lt is important for you all to provide them with this type message and to get across since you are new to the team and were
brought into this team to exactly fill this void... so we were wondering if we could figure out a smooth way to give them the
best of both. ls there a way to present to them in a way that they will get all the strategic big thinking dlrection, allowing us
to provide our historical knowledge and understanding that they need specifics? Could we be the ones who drill down into
some of the ideas and discuss how they could work reallstica||y????

3) The last thing, which we all talked about on the call is our hesitation of them becoming engaged with the
conversation and discussion l think it can be done but should not be expected to be as easy as you all might think, especially
since we will be ”meeting” with people in London, Boston and in San N‘lateo.

Fee| free to cut portions of this note and send it to Clare and team... just needed you to understand that Clare‘s approach has
really shut off my team from saying much because her reactions are so ..."what are you stupid”.... As you could likely te||, l
was trying to get Bruce and team to chime in more but they told me that it never feels like she cares what anyone says and

really has her mind made up....just an fyi
Ca|| tonight if you want.... We will figure this out but | underestimated how hard it would be to get two groups of different

types of thinkers to get on the same page... working virtually really makes this hard....

Let me know what you think we should do next...

D 03321

Case 2:1O-CV-00932-.]LS-FFl\/l Document 40 Flled 03/14/11 Page 73 of 81 Page lD #:1417

Robert Lowe | VP ~ Event Architect, Nth Degree Events | p 281.304.9566 | c 281.851.7548

Nth Degree Events l www.nthdegreeevents.com l Connecting People and Business

D 03322

Case 2:1O-CV-00932-.]LS-FFl\/l Document 40 Flled 03/14/11 Page 74 of 81 Page lD #:1418

EXHIBIT l 12

Case 2:10-CV-00932-.]LS-FFl\/l Document 40 Flled 03/14/11 Page 75 of 81 Page lD #:1419

 

Page l
UNITED sTATES DISTRICT count

CENTRAL DISTRICT OF CALIFORNIA

KAHN CREATIVE PARTNERS, INC., an
Illinois corporation,

Plaintiff,

Cause No-
CV10-00932JST{FFMxl

VS.

NTH DEGREE, INC., aka BEYOND THE
NTH DEGREE, INC., a Delaware
corporation; and DOES 10 to lO,
inclusive,

Volume l

Defendants-

 

 

 

VIDEOTAPED DEPOSITION OF KAREN DANIELE
Boston, Massachusetts

Friday February 25, 2011

Reported by: Lori Atkinson

NDS Job NO.: 141043

 

 

      

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Network Deposition Servicea, Inc. ' networkdepo.com ' 866“NET-DEPO

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Case 2:10-CV-00932-.]LS-FFl\/l Document 40 Flled 03/14/11 Page 76 of 81 Page lD #:1420

 

 

 

Page 167 1
1 MR. sIEGEL: objection. Calls for a
2 legal conclusion. Assumes facts not in l
3 evidence. Vague-and ambiguous.
4 Q. You may still answer? §
5 A. No, 1 did not Contract anyone. §
6 Q. Did you ever tell anyone at Kahn Creative
7 Partners that they were not Nth Degree's
8 partner?
9 MR. SlEGEL: Objection. Vague and §
10 ambiguous. Calls for a legal Conclusion.
_£L_` A. 1 never told them they were. T
1# H Q. 1sn't it true that much of the stand~up 5
13 presentation that was put on by either Kahn §
M Creative Partners or Kahn Creative Partners
15 individuals that Kahn Creative Partners had
16 brought in?
H A. 1 wouldn't say most but a good section of it
18 was.
19 Q. 1 significant portion of it was?
20 A. Yes.
21 Q. 1n fact, a greater portion of the stand-up §
22 presentation was put on by Kahn Creative t
23 Partners or the people that Kahn Creative 1
24 Partners had brought in than Nth Degree; is that
25 correct?

 

 

 

 

 

 

Network Deposition Services, 1nc. ' networkdepo.com ' 866-NET-DEPO

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Case 2:1O-CV-00932-.]LS-FFI\/| Document 40 Filed 03/14/11 Page 77 of 81 Page |D #:1421

 

 

 

 

 

Page l68

1 MR. SIEGEL: Objection. Misstates L

2 testimony- Argumentative.

3 A. Yes. 1t was a gift to them. They weren't

4 winning and 1 thought that was their chance to

5 prove that they could do the audience

6 acquisition. 1 felt we were in a much stronger

1 place. We had already proven ourselves.
;,,,.»q

0 Q. When you said they weren't winning? Did you

9 know that Kahn Creative partners wasn't winning
10 the bid at that point in time?

H A. No.

N Q. When you said they "weren't winning," what did

13 you mean by that?

11 A. We were a known entity and Sandra didn't want to
w leave us. Sandra didn't know them very well.

16 1 don't think that they at many times probably 1
11 put their best foot forward with Sandra. _
nw Q. When you said they weren't winning what was that §
19 based on? j
20 MR. SIEGEL: Objection. Asked and 1
21 answered. Argumentative. §
m A. Exactly what 1 just said, they hadn't put their
23 best food forward and weren't showing them the

H best thing. When they were at the RSA

25 conference. 1 think they missed a good

 

 

 

  

mm.n»a.w:mw.qwzmm:mmmwxwm¢ ww~»mw wanwmw»mm Wmmwwxmw wax a wmm>:~=.m wl mwww»=»wzwww;<»,vmwmzr?

 

Network Deposition Services, 1nc. ' networkdepo.com ' 866-NET-DEPO

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Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 78 of 81 Page |D #:1422

EXHIBIT 1 13

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 79 of 81 Page |D #:1423

From: Robert Lowe <rlowe@nthdegree.com>
Sent: Tuesday, June 2, 2009 8:38 AM
To: Jeannie B|air <jblair@nthdegree.com>; Bruce Porter <BPorter@nthdegree.com>; Bree

LaBo|lita <BLaBollita@nthdegree.com>; Amy Szyrnanski <ASzymansi<i@nthdegree.corn>;
Mandy Schu <mschu@nthdegree.com>; Lilian Barbadora <LBarbadora@nthdegree.com>;
Lorrie Minor Ridley <LRidley@nthdegree.com>; 'marcy.weeks@eventbui|ders.com'; Khadijah
Theus <KTheus@nthdegree.com>; Susan Hines <shines@nthdegree.com>; Wendy Anderson
<WAnderson@nthdegree.com>; Don Rosette <DRoset:te@ntndegree.com>; Anthony O‘Shea
<AOShea@nthdegree.com>; Jesse Meyer <JMeyer@nthdegree.com>; Dona| Murphy
<DMurphy@nthdegree.com>; Ke|ly Tobin <K'l'obin@nthdegree.com>; Pam Player
<pplayer@nthdegree.com>; Karen Daniele <KDaniele@nthdegree_com>; Lisa Ramsey
<LRamsey@nthdegree.com>; Nonie Ravenberg <NRavenberg@nthdegree.com>

Cc: John Yohe <jyohe@nthdegree.com>; Nan Lyons <NLyons@nthdegree.com>
Subject: RSA RFP Update

 

l just wanted to send a quick note out to everyone regarding the RSA RFP. As you all know we presented to the RSA team last
Thursday Nloring. The presentation went off perfectly and Was ”valuable and interesting” as Sandra put it during my
conversation yesterday. This is a great sign because she also told me that at least one of the competitions presentation was a
”waste of time.” (Jack Morton and George P were the other two presenters) Another good sign was that Sandra's boss
attended our whole presentation (he only attended bits and pieces of theJWMM and GPJ presentation) and had a bunch of
good questions at the end of the official presentation, so it seems as though we kept him interested ©

Sandra informed me that she plans on announcing the winner sometime later this week. | will let you all know as soon asi
hear something l<eep your fingers, toes and anything else you can find crossed...

Rob

Robert Lowe | VP » Event Architect, Nth Degree Events | p 281.304.9566 l c 281.851.7548
Nth Degree Events | www.nthdegreeevents.com | Connecting People and Business

D 03435

Case 2:10-CV-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 80 of 81 Page |D #:1424

EXHIBIT 1 14

Case 2:10-Cv-00932-.]LS-FF|\/| Document 40 Filed 03/14/11 Page 81 of 81 Page |D #:1425

From: Robert Lowe <r|owe@nthdegree.com>
Sent: Friday, June 5, 2009 12:00 PM
To: Robert Lowe <rlowe@nthdegree.com>; Jeannie B|air <jblair@nthdegree.com>; Bruce Porter

<BPorter@nthdegree.com>; Bree LaBo|lita <BLaBollita@nthdegree.com>; Amy Szymanski
<ASZymanski@nthdegree.corn>; Mandy Schu <mschu@nthdegree.com>; Li|ian Barbadora
<LBarbadora@nthdegree.com>; Lorrie Minor Rid|ey <LRidley@nthdegree.com>;
'rnarcy.weeks@eventbui|ders.com'; Khadijah Theus <KTheus@nthdegree.com>; Susan Hines
<shines@nthdegree.com>; Wendy Anderson <WAnderson@n'chdegree.com>; Don Rosette
<DRosette@nthdegree.com>; Anthony O‘Shea <AOShea@nthdegree.com>; Jesse Meyer
<JMeyer@nthdegree.corn>; Donal Murphy <DMurphy@nthdegree.com>; Kelly Tobin
<KTobin@nthdegree.com>; Parn Player <pp|ayer@nthdegree.corn>; Nonie Ravenberg
<NRavenberg@nthdegree.com>; John Kodis <JKodis@nthdegree.com>; John Tatusko
<JTatusko@nthdegree.com>; Kimberly Floreano <kfloreano@nthc|egree.com>; Phy[|is
MacIsaac <pmacisaac@nthdegree.com>

Cc: John yohe <jyohe@nthdegree.com>; Nan Lyons <NLyons@nthdegree.com>; Scott Bennett
<sbennett@nthdegree.com>; Karen Daniele <KDanie|e@nthdegree.com>; Lisa Ramsey
<LRamsey@nthdegree.com>; Shannon Scherer <sscherer@nthdegree.com>; Jearmie Blair
<jb|air@nthdegree.com>

Subject: RE: RSA RFP Update

 

l am th rilled to announce to everyone that Nth Degree has been chosen by RSA to continue With the management of RSA

_£lonference US and Europe events. The bottom`lme is that our role-wiil remain the same moving forward as it has been for the
past 6 yea rs. They have not made an official decision in regards to the marketing elements of the program, but | expect a decision
in this area to come down sometime over the next few of weeks.

| wanted to say thank you to everyone for ALL the hard work and devotion this team continues to provide RSA Conference. lt is
because of the job you all do that, in my estimation, this was an easy decision ©. l continue to be in awe of the professionalism,
the focus, the dedication and the work product this tea ms delivers year after year. lt truly is second to none.

Although this process has been |ong, stressful and at times extremely taxing, take pride in the professional manner you all
demonstrated th roughout. |n the spirit of "something good always comes out of hard work”... l suspect this process has

highlighted to RSA what a special team and partnership they have with each and every one of you as well as Nth Degree as a
whole....

Be proud, we went head to head against the Go|iath's of the industry and came out on top. So take some time to sit back, relax
and relish in our victory... Beca use you all know the work is right around the corner ©

Thanks again for everything

Rob

Robert Lowe f VP ~ Event Architect, Nth Degree Events l p 281.304.9566 1 c231.851.7543
Nth Degree Events [ www.nthdegreeevents.com l Connecting People and Business

D 03609

